Case 1:17-cr-00008-WJM Document 297 Filed 07/07/21 USDC Colorado Page 1 of 1
Appellate Case: 20-1039       Document: 010110544990            Date Filed: 07/07/2021    Page: 1
                     UNITED STATES COURT OF APPEALS FOR THE TENTH CIRCUIT
                                Byron White United States Courthouse
                                          1823 Stout Street
                                      Denver, Colorado 80257
                                           (303) 844-3157
                                      Clerk@ca10.uscourts.gov
 Christopher M. Wolpert                                                             Jane K. Castro
 Clerk of Court                                                                 Chief Deputy Clerk
                                         July 07, 2021


  Mr. Jeffrey P. Colwell
  United States District Court for the District of Colorado
  Office of the Clerk
  Alfred A. Arraj U.S. Courthouse
  901 19th Street
  Denver, CO 80294-3589

  RE:       20-1039, United States v. Jean-Pierre
            Dist/Ag docket: 1:17-CR-00008-WJM-1

 Dear Clerk:

 Pursuant to Federal Rule of Appellate Procedure 41, the Tenth Circuit's mandate in the
 above-referenced appeal issued today. The court's June 15, 2021 judgment takes effect
 this date. With the issuance of this letter, the mandate is transferred back to the lower
 court/agency.

 Please contact this office if you have questions.

                                               Sincerely,



                                               Christopher M. Wolpert
                                               Clerk of Court



  cc:       Paul Farley
            Megan L. Hayes



  CMW/jjh
